Case 11-41317-JDP   Doc 17   Filed 09/30/11 Entered 09/30/11 16:15:46   Desc Main
                             Document     Page 1 of 6
Case 11-41317-JDP   Doc 17   Filed 09/30/11 Entered 09/30/11 16:15:46   Desc Main
                             Document     Page 2 of 6
Case 11-41317-JDP   Doc 17   Filed 09/30/11 Entered 09/30/11 16:15:46   Desc Main
                             Document     Page 3 of 6
Case 11-41317-JDP   Doc 17   Filed 09/30/11 Entered 09/30/11 16:15:46   Desc Main
                             Document     Page 4 of 6
Case 11-41317-JDP   Doc 17   Filed 09/30/11 Entered 09/30/11 16:15:46   Desc Main
                             Document     Page 5 of 6
Case 11-41317-JDP   Doc 17   Filed 09/30/11 Entered 09/30/11 16:15:46   Desc Main
                             Document     Page 6 of 6
